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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION                                      MASTER DOCKET
OF THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                                     18-md-2865 (LAK)
SCHEME LITIGATION

This document relates to case nos.: 18-cv-04051;
18-cv-09840; 18-cv-09841; 18-cv-10098;
19-cv-01812; 19-cv-01866; 19-cv-01898.



    DECLARATION OF MARC A. WEINSTEIN IN SUPPORT OF PLAINTIFF
 SKATTEFORVALTNINGEN’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
          ITS MOTION FOR PARTIAL SUMMARY JUDGMENT


I, Marc A. Weinstein, an attorney duly admitted to practice law before the courts of the State of New

York, hereby declare under penalty of perjury:



        1.       Attached hereto as Exhibit 305 is a true and correct copy of the Reply Expert

Report of Felicity Toube, dated February 25, 2022.

        2.       Attached hereto as Exhibit 306 is a true and correct copy of excerpts from the

transcript of the deposition of Max Hayden, dated April 13, 2022.

        3.       Attached hereto as Exhibit 307 is a true and correct copy of excerpts from the

transcript of the deposition of Adam Warren, dated April 5, 2022.

        4.       Attached hereto as Exhibit 308 is a true and correct copy of the transcript of the

October 5, 2021 court conference held before the Honorable Lewis A. Kaplan in this multi-

district litigation.
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       5.      Attached hereto as Exhibit 309 is a true and correct copy of Plaintiff

Skatteforvaltningen’s production cover letter to Defendants’ counsel, dated December 3, 2021.

       6.      Attached hereto as Exhibit 310 is a true and correct copy of excerpts from the

transcript of the deposition of Roger Lehman, dated August 9, 2021 (Vol. 1).



   I, MARC A. WEINSTEIN, hereby declare under penalty of perjury that the foregoing is true

and correct.



   Dated: New York, New York
          June 27, 2022


                                                  /s/ Marc A. Weinstein
                                                  Marc A. Weinstein
